AO 470 (8/85) Order of Temporary DetentioD



                                  UNITED STATES DISTRICT COURT
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                                             EASTERN DISTRICT OF VIRGINIA
                                                                                                                                   -7m
                                                                                                                                 S DISTRICT COUflT
                                                                                                                          -AL^WDRIA. VIRRlMifl
UNITED STATES OF AMERICA                                            ORDER OF TEMPORARY DETENTION
                                                                    PENDING HEARING PURSUANT TO
                                                                    BAIL REFORM ACT

                          V.

                                                                     CASENO.                     l^fyCllU"
 nhiniiianne,OKe^Sg.


           Upon motion of the United States Government,it is hereby ORDERED that a

detention hearing is set for                                           ^|l^                          at <3,.'CQpnO
 before the Honorable                    Theresa Carroll Buchanan in Courtroom 500 at

401 Courthouse Square, Alexandria, Virginia.

           Pending this hearing,the defendant shall be held in custody by the United

States Marshal and produced for the hearing.


                                                                              esa Carroll Buchanan                     ; f ^
                                                                       United States Magistrate Judge
    Date:                                                                Theresa Carroll Buchanan
                                                                      United States Magistrate Judge



*If not held immediately upon defendant's first appearance, the hearing maybe continued for up to three days upon motion ofthe
Government, or up to five days upon motion of the defendant 18 U.S.C.§ 3142(f)(2).
          A hearing is required whenever the conditions set forth in 18 U.S.C.§ 3142(f) are present Subsection (1) sets forth the
grounds that may be asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion
of the attorney for the Government or upon the judicial ofBcer's own motion ifthere is a serious risk that the defendant(a) will flee or
(b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a
prospective witness or juror.
